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                                           Telephone: (480) 421-1001
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                                       5   gbc@kflawaz.com

                                       6   Attorneys for Plaintiff
                                       7
                                       8                       IN THE UNITED STATES DISTRICT COURT

                                       9                             FOR THE DISTRICT OF ARIZONA

                                      10
                                           Ronald H. Pratte,                              Case No. 2:19-cv-00239-PHX-GMS
                                      11
                                                                                          STIPULATED JOINT MOTION TO
7150 East Camelback Road, Suite 285




                                      12                        Plaintiff,                EXTEND DEADLINE FOR PARTIES’
                                                                                          RESPONSES TO RESPECTIVE
     Scottsdale, Arizona 85251
     Kercsmar & Feltus PLLC




                                      13   vs.                                            MOTIONS FOR SUMMARY
           (480) 421-1001




                                                                                          JUDGMENT TO FEBRUARY 15, 2021
                                      14   Jeffrey Bardwell and Fanny F. Bardwell,
                                      15   husband and wife,

                                      16                        Defendants.
                                      17
                                      18          The Parties hereby stipulate and agree that the respective deadlines for Plaintiff
                                      19   Ronald Pratte and Defendants Jeffrey Bardwell and Fanny Bardwell to respond to the
                                      20   respective motions for summary judgment and supporting documents filed by the
                                      21   opposing party shall be extended from January 19, 2021 to February 15, 2021.
                                      22          Accordingly, the Parties jointly move this Court to extend the respective deadlines
                                      23   for Plaintiff Ronald Pratte and Defendants Jeffrey Bardwell and Fanny Bardwell to
                                      24   respond to the respective motions for summary judgment and supporting documents filed
                                      25   by the opposing party (the Motion for Summary Judgment filed by Mr. Pratte is Docket
                                      26   No. 55, his Separate Statement of Facts is Docket No. 56; the Motion for Summary
                                      27   Judgment filed by Mr. Bardwell is Docket No. 57, his Separate Statement of Facts is
                                      28   Docket No. 58) from January 19, 2021 to February 15, 2021. The extension is stipulated


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                                             Case 2:19-cv-00239-GMS Document 59 Filed 01/13/21 Page 2 of 3



                                       1   in order to accommodate the schedule of Plaintiff’s counsel and the schedule of
                                       2   Defendants’ counsel. Defendants’ counsel has a significant evidentiary hearing in early
                                       3   February and Plaintiffs counsel’s schedule has been recently consumed by another
                                       4   matter, pending in the Southern District of Florida, where discovery closes on February 9
                                       5   and the opposing party just disclosed over 200,00 pages of documents.
                                       6         The Parties have not requested any previous extension of this deadline.
                                       7         A proposed form of order is filed herewith.
                                       8
                                       9         DATED this 13th day of January, 2021.

                                      10
                                                                                KERCSMAR & FELTUS PLLC
                                      11
7150 East Camelback Road, Suite 285




                                      12                                    By: s/ Greg Collins
                                                                                Gregory B. Collins
     Scottsdale, Arizona 85251
     Kercsmar & Feltus PLLC




                                      13
                                                                                7150 East Camelback Road, Suite 285
           (480) 421-1001




                                      14                                        Scottsdale, Arizona 85251
                                                                                Attorneys for Plaintiff
                                      15                              and
                                      16
                                                                            By: /s/Thomas Marlowe
                                      17                                      LAW OFFICES OF THOMAS J. MARLOWE
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                                              Case 2:19-cv-00239-GMS Document 59 Filed 01/13/21 Page 3 of 3


                                                                   CERTIFICATE OF SERVICE
                                       1
                                                I certify that on January 13, 2021, I electronically transmitted the foregoing to the
                                       2   Clerk’s Office using the CM/ECF System for filing and transmittal of a Notice of
                                       3   Electronic Filing to the following:
                                       4
                                           Thomas M. Connelly
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                                       6   Phoenix, Arizona 85016
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7150 East Camelback Road, Suite 285




                                      12
     Scottsdale, Arizona 85251
     Kercsmar & Feltus PLLC




                                      13
           (480) 421-1001




                                      14   s/ Alexis Adelman

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